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    5 Attorneys for Attorneys for Defendants,
            CITY OF SANTA PAULA and OFFICER CHRIS
    6       RIVERA
    7

    8                        UNITED STATES DISTRICT COURT
    9          CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
   10

   11 JOSEPH L. GARCES,                           CASE NO. 2:21-cv-6730-FLA(PVCx)
   12         Plaintiff,                          DECLARATION OF DEFENDANT,
                                                  SR. OFFICER CHRIS RIVERA IN
   13         vs.                                 SUPPORT OF MOTION FOR
                                                  SUMMARY JUDGMENT
   14 CITY    OF SANTA PAULA, a
      municipal entity, OFFICER CHRIS             [Concurrently filed with Separate Statement of
   15 RIVERA, an individual and DOES 1            Uncontroverted Facts and Conclusions of Law in
      through 10, inclusive,                      Support of Motion for Summary Judgment]
   16
                     Defendants.                  Date: January 20, 2023
   17
                                                  Time: 1:30 p.m.
   18                                             Dept.: 6B

   19
   20

   21

   22         I, Christopher Rivera, hereby declare and state:
   23         1.     I am an adult over the age of 18 years and the facts recited herein are
   24 within my personal knowledge. If called upon to testify to these facts, I could and

   25 would do so truthfully and competently.

   26         2.     Prior to preparing this declaration, I reviewed the body worn camera
   27 videos marked as Exhibits 1, 2, 3 and 4 to the defendant’s motion for summary

   28 judgment to ensure the accuracy of the facts recited herein.

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                                                                            1        3.     At the time of the subject incident, I was employed with the Santa Paula
                                                                            2 Police Department (SPPD) as a Senior Officer, assigned to the Detective Bureau.

                                                                            3        4.     On October 9, 2020, I was scheduled to begin my shift at approximately
                                                                            4 5:00 p.m. At about 4:45 p.m. I was at the SPPD station located at 214 S. 10th Street in

                                                                            5 Santa Paula, California, preparing to start my shift, when a call came in that there was

                                                                            6 a shooting victim on the ground in the parking lot of an apartment complex at 218 N.

                                                                            7 8th Street.

                                                                            8        5.     I immediately responded to the call in an unmarked police vehicle,
                                                                            9 accompanied by SPPD Officers Jason Abboud and Evert Ponce. We arrived at the

                                                                           10 scene of the incident at approximately 4:55 p.m.

                                                                           11        6.     Upon my arrival at the scene, I was met by SPPD Commander Allen
                                                                           12 Macias, who had arrived a few minutes earlier. Commander Macias confirmed that I
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                                                                           13 was the lead detective on the scene, until relieved by Detective McCarthy, and that
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                                                                           14 there was a shooting victim down. He advised me that someone (whom I later learned

                                                                           15 was Joseph Garces) had been performing CPR on the victim. By the time I arrived on

                                                                           16 scene, SPPD Ofc. Chennault was performing chest compressions on the victim.

                                                                           17        7.     Commander Macias also told me that the person who had been performing
                                                                           18 CPR, Mr. Garces, had removed a handgun from the victim and placed it in his Jeep,

                                                                           19 which was parked a few feet away from the victim. At that time, I had no information
                                                                           20 regarding the incident other than what I had been told by Commander Macias and what

                                                                           21 I was able to observe in the short time I was on scene.

                                                                           22        8.     I did not know if the suspect was still in the vicinity, and I had not yet
                                                                           23 identified any potential witnesses.

                                                                           24        9.     After the briefing I received from Commander Macias, I observed SPPD
                                                                           25 Sgt. Walter Harper a short distance away speaking to the individual whom I later

                                                                           26 learned was Joseph Garces.

                                                                           27

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                                                                            1        10.    Knowing that Mr. Garces was in the crime scene I asked Sgt. Harper to
                                                                            2 “Get him out of here.” Mr. Garces immediately became emotional, agitated, angry and

                                                                            3 aggressive, as shown in the video marked Exhibit 1.

                                                                            4        11.    I immediately identified myself as a detective in charge of the crime scene.
                                                                            5 However, Mr. Garces continued to shout obscenities and challenging me. I then ordered

                                                                            6 him out of the crime scene. He responded by asking, “What’s your f***ing name?”

                                                                            7        12.     After I told him my name, I walked over to Mr. Garces ordered him to
                                                                            8 leave the crime scene two more times. He did not immediately comply. Instead, he was

                                                                            9 defiant and asked, “What are you going to do to me?”

                                                                           10        13.    I then ordered Mr. Garces out of the crime scene two more times and told
                                                                           11 him that I would make him leave. Sgt. Harper then encouraged Mr. Garces to go with

                                                                           12 him and the two men began walking toward 8th Street.
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                                                                           13        14.    As Mr. Garces was walking away with Sgt. Harper, he continued shout
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                                                                           14 profane insults at me, repeatedly yelling different versions of the F-word.

                                                                           15        15.    By this time, the perimeter of the crime scene had been established with
                                                                           16 yellow crime scene tape. The crime scene tape had been tied to a utility pole on the

                                                                           17 west sidewalk on 8th Street, stretched across 8th Street to the east side of the street and

                                                                           18 then southward down 8th Street as shown on Ex. 1 at about 4:56 p.m.

                                                                           19        16.    When Mr. Garces reached the sidewalk on 8th Street he stopped, turned
                                                                           20 around, and began walking back toward the interior crime scene, and continued

                                                                           21 shouting insults at me, calling me a “..fat mother***ing piece of s***.”

                                                                           22        17.    By this time, I was very concerned about Mr. Garces’s emotional stability
                                                                           23 and the effect his behavior was having on potential witnesses, as well as the disruptive

                                                                           24 effect he was having on the overall investigation. I began to walk toward Mr. Garces.

                                                                           25        18.    As I approached 8th Street, I heard Sgt. Harper repeatedly order Mr.
                                                                           26 Garces to “step back.” Mr. Garces did not comply with these orders but continued shout

                                                                           27 profane insults at me.

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                                                                            1        19.     As I continued to walk toward Mr. Garces, I heard Ofc. Ponce instruct
                                                                            2 him, “I need you to back up!” three times in a firm tone of voice. Mr. Garces responded

                                                                            3 with an emphatic, “No!”

                                                                            4        20.     At this point, I placed my right hand on Mr. Garces’s right shoulder and
                                                                            5 said, “I got him, I got him, I got him…” and then said to him, “You need to

                                                                            6 understand…”

                                                                            7        21.     Before I was able to finish my sentence, Mr. Garces stated, “Get your
                                                                            8 f***ing hands off me” and raised his right arm up as I was trying to get his attention. I

                                                                            9 then placed Mr. Garces in a wrist hold and walked him over to a tree just outside the

                                                                           10 crime scene.

                                                                           11        22.     I did not strike Mr. Garces, nor did I use or display my baton, taser or any
                                                                           12 other weapon to subdue him. I do not believe that I applied a sufficient amount of force
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                                                                           13 to his right hand or arm to cause a physical injury.
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                                                                           14        23.     I then attempted to convince Mr. Garces to calm down, as shown on
                                                                           15 Exhibit 3. However, he continued to argue with me and challenge my authority.

                                                                           16        24.     Knowing that I had a dynamic and rapidly evolving crime scene on my
                                                                           17 hands and confronted with his strange, aggressive and belligerent behavior, I decided

                                                                           18 to handcuff and detain Mr. Garces at approximately 4:58:21 PM. (See Exhibit 3, 00:49;

                                                                           19 T23:57:44). I did so because I reasonably believed that I had probable cause to arrest
                                                                           20 him for a violation of California Penal Code section 148(a)(1) and that his detention

                                                                           21 was legally justified because he was delaying, interfering with, and obstructing an

                                                                           22 urgent investigation.

                                                                           23        25.     My direct interaction with Mr. Garces ended at approximately 4:59 p.m.
                                                                           24 and Ofc. Abboud placed Mr. Garces in a patrol vehicle parked nearby. At no time

                                                                           25 during my interaction with Mr. Garces did he appear to be in pain, and he did not

                                                                           26 complain to me of any injuries, nor did he request that I summon medical attention for

                                                                           27 him.

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    1                       STATE OF CALIFORNIA, COUNTY OF VENTURA

    2         I am employed in the County of Ventura, State of California. I am over the age of 18 and
      not a party to the within action. My business address is 751 East Daily Drive, Suite 410, Camarillo,
    3
      California 93010.
    4         On December 14, 2022, I served the foregoing document(s) described as:
        DECLARATION OF DEFENDANT, SR. OFFICER CHRIS RIVERA IN
    5 SUPPORT OF MOTION FOR SUMMARY JUDGMENT

    6
      on the interested parties in this action by:
    7   X By CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the documents
      with the clerk of the court by using the CM/ECF system. Participants in the case who are registered
    8
      CM/ECF users will be served by CM/ECF system. Participants in the case who are not registered
    9 CM/ECF users will be served by mail or by other means permitted by the court rules. SEE
      ATTACHED SERVICE LIST
   10

   11         (BY E-MAIL) I served the foregoing document by transmitting a true copy thereof via e-mail
        as follows: SEE ATTACHED SERVICE LIST
   12

   13    X (Federal) I declare that I am employed in the office of a member of the bar of this court at
                     whose direction the service was made.
   14          Executed on December 14, 2022, at Camarillo, California.
   15                                                             /s/
   16
                                                      Shellye Cruz
   17

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                                                                                       PROOF OF SERVICE
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    1                                      SERVICE LIST
    2                                   Garces v. City of Santa Paula
                     United States District Court Case No: 2:21-cv-6730-FLA(PVCx)
    3

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                                                                             PROOF OF SERVICE
